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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                      Case No. 13-20495
             Plaintiff/Respondent,
                                                      Paul D. Borman
v.                                                    United States District Judge

ERNEST THOMPSON,                                      Elizabeth A. Stafford
                                                      United States Magistrate Judge
             Defendant/Petitioner.

_____________________________/

      On February 24, 2016, Magistrate Judge Elizabeth A. Stafford issued a Report &

Recommendation (ECF No. 279) in which she recommended that the defendant/petitioner’s

Motion to Strike Defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to

28 U.S.C. § 2255 (ECF No. 234) be DENIED.

      On May 6, 2016, Defendant/Petitioner filed Objections to the Report &

Recommendation. (ECF No. 294)

      The Court, having reviewed Defendant/Petitioner’s objections, hereby ACCEPTS

Magistrate Judge Stafford’s Report & Recommendation and DENIES Defendant/Petitioner’s

Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255.

      SO ORDERED.

                                         s/Paul D. Borman
                                         PAUL D. BORMAN
                                         UNITED STATES DISTRICT JUDGE

Dated: October 31, 2016
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                             CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney
or party of record herein by electronic means or first class U.S. mail on October 31, 2016.


                                         s/Deborah Tofil
                                         Case Manager




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